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BYU                 Office of the President
IDAHO               Brigham Young University-Idaho         • 200 Kimball Building• Rexburg, ID • 83460-1650




February 12, 2016




Ms. Catherine E. Lhamon
Assistant Secretary for Civil Rights
United States Department of Education
400 Maryland Avenue, SW
Washington, DC 20202-1100

Dear Ms. Lhamon:

RE:       BRIGHAM YOUNG UNIVERSITY-IDAHO'S TITLE IX RELIGIOUS EXEMPTIONS

We are writing in response to the letter we received January 26, 2016, to affirm Brigham Young
University-Idaho's religious protections under Title IX of the Education Amendments of 1972
and the United States Constitution. 1

Title IX "is designed to eliminate (with certain exceptions) discrimination on the basis of sex in
any education program or activity receiving Federal financial assistance." 2 One exception is that
private institutions of undergraduate higher education are exempt from Title IX with respect to
admissions and recruitment. 3 Another important exception is that Title IX "shall not apply to an
educational institution which is controlled by a religious organization if the application ...
                                                                         4
would not be consistent with the religious tenets of such organization."

BYU-Idaho shares and supports the goal of the Office for Civil Rights to eliminate sex
discrimination. As a religious institution of higher education, BYU-Idaho also has a
responsibility to teach the doctrine of its sponsoring institution, The Church of Jesus Christ of
Latter-day Saints (the Church). The formally stated mission of BYU-ldaho is to "develop
                                                                                                5
disciples of Jesus Christ who are leaders in their homes, the Church, and their communities."
The university does this by, among other things, "[b]uilding testimonies of the restored gospel of
Jesus Christ," "encouraging living its principles," and "[p]roviding a quality education for
students of diverse interests and abilities." 6 BYU-Idaho strives to create an environment in

1 Letter from Emily Hazen, Equal Opportunity                    Specialist at OCR, to Clark G. Gilbert, President of BYU-
Idaho (Jan. 26, 2016).
2 34 C.F.R. § 106.1 (2016).
3
  20 U.S.C. § l68l(a)(I) (2016); 34 C.F.R. § 106. lS(d).
4
  20 U.S.C. § l68l(a)(3).
5 BYU-ldaho Mission Statement, available at http://byui.edu/about/our-mission.

6   Id.


Clark G. Gilbert   President   I   Phone: (208) 496-1111    I   Fax: (208) 496-1103   I gilbertc@byui.edu
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which the restored gospel of Jesus Christ guides every aspect of the educational experience. In
these ways, the mission of BYU-Idaho is inextricably both spiritual and educational. 7 Religious
higher education institutions like BYU-Idaho contribute to the "diversity of institutions and
educational missions [that] is one of the key strengths of American higher education." 8

BYU-Idaho was originally established in 1888, and for much of its existence was known as
Ricks College. In 2001 Ricks College became a four-year undergraduate institution (as it had
been many decades earlier) and was renamed Brigham Young University-Idaho. BYU-Idaho is
sponsored and controlled by the Church. The Church has always been ultimately responsible for
BYD-Idaho's operation throughout its history. The governing board of the Church appoints the
BYU-ldaho Board of Trustees, and the majority of the BYU-Idaho operating budget is derived
directly from appropriations from the Church.

The Church is a major international Christian religion, with a fully developed theology, a well-
known history spanning nearly two centuries, and a worldwide membership presently numbering
over fifteen million. Its members believe that the Church and its doctrine contain the fullness of
the gospel of Jesus Christ, restored by direct revelation from God to Joseph Smith, who was
called in 1820 as a prophet in the Biblical sense. The Church's governing board comprises the
First Presidency and the Quorum of the Twelve Apostles, all of whom are sustained by Church
members as prophets, seers, and revelators. Members of the Church regard the Bible and the
Book of Mormon (another testament of Jesus Christ) as holy scripture. The Church also accepts
additional prophetic writings and the statements of current Church leaders as authoritative
religious teaching. Central to the Church's theology is the view that every human being is a son
or daughter of God who may be saved through the Atonement of Jesus Christ by obedience to
the laws and ordinances of His gospel.

BYU-Idaho affirms the dignity of all human beings. Consistent with the teachings of the Church,
BYU-Idaho recognizes the inherent agency, or free will, of each person. All students who apply
to and enroll at BYU-Idaho make a commitment to live the University Standards, including an
Honor Code, that are based on doctrines and practices of the Church and reflect the "moral



7 As we have maintained for over forty years in our correspondence     with the Department of Education
and its predecessor, the Department of Health, Education, and Welfare, BYU-ldaho considers itself
exempt from certain regulations and their related processes promulgated under Title IX by virtue of
protections in the U.S. Constitution and federal statutes. See Hall v. Lee Coll., Inc., 932 F. Supp. 1027,
1033 (E.D. Tenn. 1996) ("It may very well be that to claim the exemption found in the statute, an
educational institution need do nothing more than just raise the exemption."). However, in an effort to
continue to cooperate with your office, 1 am sending this letter in my capacity as president of BYU-ldaho
to you in your capacity as assistant secretary for Civil Rights at the Department of Education, as
34 C.F.R. § 106.12(b) anticipates.
8 20 U.S.C. § IO11a(a)(2)(A).




Clark G. GIibert   President   I   Phone: (208) 496-1111   I   Fax: (208) 496-1103    I   gilbertc@byui.edu
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virtues encompassed in the gospel of Jesus Christ." 9 This commitment is acknowledged at the
time of application and must be reaffirmed each year in order to continue enrollment. Students
specifically agree to-among other things-live a chaste and virtuous life, respect others, and
observe certain dress and grooming standards. BYU-Idaho has adopted dress and grooming
standards that are different for men and women. The purpose of this distinction between genders
is based on religious tenets about our divine nature as children of God, the eternal nature of our
gender identity, and the purpose of our life on earth.

Members of the Church believe that "God created man in his own image, in the image of God
created he him; male and female created he them." 10 Modem-day scripture reiterates the truth
that God created all human beings in his own image and likeness, male and female. 11 In 1995,
the Church's First Presidency and Quorum of the Twelve Apostles issued "The Family: A
Proclamation to the World," which states: "ALL HUMAN BEINGS-male and female-are
created in the image of God. Each is a beloved spirit son or daughter of heavenly parents, and, as
such, each has a divine nature and destiny. Gender is an essential characteristic of individual
premortal, mortal, and eternal identity and purpose." 12 Therefore, as a religious tenet, gender is
not simply socially determined but is an essential characteristic of each person's eternal identity.

The Church has a history of encouraging all of its members, male and female, to obtain as much
education as possible and to participate fully in the economic, political, and social life of their
communities. 13 BYU-Idaho strives to contribute to that effort by providing a broad
undergraduate education and facilitating internship, employment, and service opporttmities.
However, in keeping with the Church's teaching on gender, BYU-Idaho requires all students and
employees to conduct their lives in hannony with the Church's teachings and the University
Standards.

The complaint against BYU-Idaho alleges discrimination on the basis of sex with respect to a
transgender student. 14 Although the letter we received does not specify which Title IX


9
  BYU-Idaho University Standards 58 (2015-2016) (stating that "[s]tudents must be in good honor code
standing to be admitted to, continue enrollment at, and graduate from BYU-Idaho"), available at
http://www.byui.edu/Documents/catalog/2015-20 l 6/University%20Standards.pdf.
10
   Genesis 1:27; see also Matthew 19:4.
11
   Moses 2:27; Doctrine and Covenants 20: 18.
12
   We sent a copy of The Family: A Proclamation to the World to your office in 1998. Letter from David
A. Bednar, President of Ricks College, to Nonna Cantu, Assistant Secretary for Civil Rights (Mar. 12,
1998).
13
   This also reflects a religious tenet of the Church. See Doctrine and Covenants 88:77-80; 109:7.
14
   The Department of Education's position that Title IX's definition of"sex" includes gender identity is
not anywhere defined in statute or regulation. Johnston v. Univ. of Pittsburgh of Commorrwealth Sys. of
Higher Educ., 97 F. Supp. 3d 657, 674 (W.D. Pa. 2015) (stating that "Title IX does not prohibit
discrimination on the basis of transgender itself because transgender is not a protected characteristic under


Clark G. Gilbert   President   I   Phone: (208) 496-1111   I   Fax: (208) 496-1103    I   gilbertc@byui.edu
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regulations may apply, it appears that all of the allegations relate to regulations regarding
education programs or activities and housing. The Office for Civil Rights has already determined
that BYU-Idaho is exempt from the application of 34 C.F.R. § 106.31 and § 106.32 to the extent
they conflict with the Church's religious tenets. 15 The Department of Education's recent
guidance construing sex to mean, among other things, gender identity, does not affect BYU-
Idaho' s already existing exemptions.

We appreciate your commitment to resolving complaints as promptly as possible. In a similar
situation, the regional office closed a complaint for lack of jurisdiction. 16 Based on the existing
exemptions, and as required by the statutory text of Title IX, that same approach is appropriate
here. If I or any members of BYD-Idaho's administration can be of any assistance to you, or if
you require additional information, please contact me.




President




the statute" and noting there is "no federal court case that has squarely decided this issue in the Title IX
context").
15 "Ricks College is hereby exempted from the requirements of the following sections of the Title IX

regulation: ... § 106.31, § 106.32." Letter from Harry M. Singleton, Assistant Secretary for Civil Rights,
to Dr. Bruce C. Hafen, President of Ricks College (June 24, 1985).
16 Letter from LeGree S. Daniels, Assistant Secretary for Civil Rights, to Dr. Joe J. Christensen, President

of Ricks College (June 22, l 988) (recounting that the regional office had received a complaint and
subsequently closed it for lack of jurisdiction).


Clark G. GIibert   President   I   Phone: (208) 496-1111   I   Fax: (208) 496-1103   I   gilbertc@byui.edu
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